 Case 3:19-cv-01537-BEN-JLB Document 24 Filed 12/13/19 PageID.2044 Page 1 of 3




 1 George M. Lee (SBN 172982)
   SEILER EPSTEIN LLP
 2
   275 Battery Street, Suite 1600
 3 San Francisco, California 94111
 4 Phone: (415) 979-0500
   Fax: (415) 979-0511
 5 Email: gml@seilerepstein.com
 6
   John W. Dillon (SBN 296788)
 7 GATZKE DILLON & BALLANCE LLP
 8 2762 Gateway Road
   Carlsbad, California 92009
 9 Phone: (760) 431-9501
10 Fax: (760) 541-9512
   Email: jdillon@gdandb.com
11
12 Attorneys for Plaintiffs
13
14
15                          UNITED STATES DISTRICT COURT
16                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                              Case No. 3:19-cv-01537-BEN-JLB
18
                                                        Hon. Roger T. Benitez
19                      Plaintiffs,                     Magistrate Hon. Jill L. Burkhardt
20                                                      NOTICE OF ERRATA RE:
          vs.
21                                                      PLAINTIFFS MOTION FOR
                                                        PRELIMINARY INJUNCTION
22 XAVIER BECERRA, in his official
   capacity as Attorney General of
23 California, et al.,                                  Complaint filed: August 15, 2019
24                                                      Amended Complaint filed:
                       Defendants.                      September 27, 2019
25
26                                                      Date: Thursday, January 16, 2020
27                                                      Time: 10:00 a.m.
                                                        Department: Courtroom 5A (5th floor)
28


                 Notice Of Errata Re: Plaintiffs’ Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
 Case 3:19-cv-01537-BEN-JLB Document 24 Filed 12/13/19 PageID.2045 Page 2 of 3




 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         Plaintiffs file this Notice of Errata to correct inadvertent errors in Plaintiffs’
 4
     Notice of Motion and Motion for Preliminary Injunction, the Memorandum of Points
 5
     and Authorities, and the Declarations of Plaintiffs James Miller, Wendy Hauffen, Ryan
 6
     Peterson, John Phillips, Neil Rutherford, Adrian Sevilla, and the Declarations of John
 7
     Lott, and Ashley Hlebinsky, all of which were filed on December 6, 2019.
 8
 9         In reviewing the motion and supporting papers, Plaintiffs noticed a few

10 typographical errors, as follows:
11         1.   On the caption page of the notice, the memorandum of points and
12              authorities, and the declaration of Ashley Hlebinsky, the Judges assigned to
13              this case were not properly identified. The caption pages have been
14
                corrected and properly identify “Hon. Roger T. Benitez” and “Magistrate
15
                Hon. Jill L. Burkhardt.”
16
           2.   On page two of the notice of motion, Plaintiffs’ incorrectly state, “This
17
18              motion is also based on the Second Amended Complaint, pleadings, and

19              records already on file….” This has been corrected to refer to the operative
20              pleading, the “First Amended Complaint.”
21         3.   In reviewing Plaintiffs’ memorandum of points and authorities, Plaintiffs
22              noted the need to properly align the table of authorities and add four cases
23
                inadvertently omitted from the table, but cited in the brief. Plaintiffs have
24
                also included the full citation of Jackson v. City of San Francisco 746 F.3d
25
                953 (9th Cir. 2014) on page 19 of the points and authorities.
26
27         4.   In reviewing the Declarations of Plaintiffs James Miller, Wendy Hauffen,

28              Ryan Peterson, John Phillips, Neil Rutherford, and Adrian Sevilla, the relief

                                                      -1-
                 Notice Of Errata Re: Plaintiffs’ Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
 Case 3:19-cv-01537-BEN-JLB Document 24 Filed 12/13/19 PageID.2046 Page 3 of 3




 1             requested did not encapsulate the entirety of the relief sought. Therefore,
 2             the last paragraph of each Plaintiff declaration was revised, and the
 3             declarations were re-signed.
 4
          5.   In reviewing the Declaration of expert Dr. John Lott, Dr. Lott realized that
 5
               his previous residence was inadvertently listed on page one of his
 6
               declaration. His current residence has been corrected. Also, pin citations in
 7
               paragraphs 20 and 21 of his declaration were corrected.
 8
 9        The corrected versions of the Notice of Motion and Motion for Preliminary

10 Injunction, Plaintiffs’ Memorandum of Points and Authorities in Support of Motion for
11 Preliminary Injunction, and the Declarations of James Miller, Wendy Hauffen, Ryan
12 Peterson, John Phillips, Neil Rutherford, Adrian Sevilla, Ashley Hlebinsky, and John
13 Lott are filed simultaneously with this Notice of Errata.
14
15    December 13, 2019                             SEILER EPSTEIN LLP
16
                                                    GATZKE DILLON & BALLANCE LLP
17
18
                                                    Attorneys for Plaintiffs
19
20
                                                    /s/ John W. Dillon
21
                                                    John W. Dillon
22
23
24
25
26
27
28
                                                     -2-
                Notice Of Errata Re: Plaintiffs’ Motion For Preliminary Injunction (Case No. 3:19-cv-01537-BEN-JLB)
